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                                    EXHIBIT 7
FREEDOM COMMUNICATIONS INC                                                                                       ORANGE COUNTY REGISTER                                           024-086069

 A                                                     B                                                         C           D             E                 F
                                                                                                                                                                                                      Department        Taxpayer
Ref.                                                  Des.                                                                 4Q12        1Q13-1Q16           (D+E)          Taxable Measure Per Audit     Summary         Summary          Diff.
  1    Total Subscription Revenue Freight Included                                                                         9,389,614    124,780,169      134,169,783
  2
  3    Less:RIE Revenue Deductible                                                                                                 0                0                 0
  4
  5    Less: Transportation Deduction                                                                                      2,420,332     27,174,500       29,594,832
  6
  7    Adjusted Subscription Revenue for Transportation                                                (L1-L5)             6,969,282     97,605,669      104,574,951
  8
  9    Adjustment of Subscription Revenue for Digital Portion                                                                      0     36,995,891       36,995,891
 10
 11 Adjustment of Subscription Revenue for Taxable Bad Debts (GL12610)                                                        99,722      1,460,229        1,559,951
    Audited Taxable Subscription Sales Excluding (Transportation per test, Digital Subscription on ratio
 12 basis and Taxable Bad Debts) (Taxable)                                                               (L7-L9-L11)       6,869,560     59,149,549       66,019,109 Taxable                            66,019,109      30,910,681     35,108,428
 13
 14 Total Unreported Commercial Printing Revenue (Net of Discounts and Refunds)                                            6,753,622     83,886,893       90,640,515
 15 Allowed Unreported Commercial Printing Revenue Per Audit
 16 Disallowed Unreported Commercial Printing Revenue Per Audit / Actual 20K and over                                        213,771      1,206,227        1,419,998 Taxable
 17 Disallowed Unreported Commercial Printing Revenue Per Audit / Below 50K (Test Basis)                                     118,501      2,294,090        2,412,591 Taxable                                6,611,592    1,946,806      4,664,786
 18 Disallowed Unreported Commercial Printing Revenue Per Audit / Selected Customers / Actual                                110,469      2,668,534        2,779,003 Taxable
 19
 20 Total Unreported Single Copies Sales (Net of Discounts and Refunds)                                                      415,852       6,589,787       7,005,639
 21 Disallowed Unreported Single Copies Sales Per Audit / Actual                                                                 938      2,198,596       2,199,534 Taxable                                 2,199,534       33,350      2,166,184
 22
    Unreported Taxable Sales From Single Copy Sales Markup Sold through Concessionaires and
 23 Newspaper's Carriers Per Regulations 1590(b)(6) and 1699(d)                                                                    0      1,799,968        1,799,968 Taxable                                1,799,968              0    1,799,968
 24
 25 Unreported Taxable Revenue from Sales of Fixed Assets                                                                          0           10,085            10,085 Taxable
 26
 27 Unsupported Miscellaneous Income Posted To Gl 73000                                                                          322           13,645            13,967 Taxable
 28
    Unreported Taxable Measure From Disallowed Debit Entries Posted To Sales Tax Payable Gl Account
 29 25120 Per 1St Re-Audit                                                                                                         0       143,892           143,892 Taxable
 30
 31 Unreported Taxable Sales of Fixed Assets at Close Out Date                                                                     0      5,581,700        5,581,700 Taxable                                5,581,700    3,025,267      2,556,433
 32
 33 Recorded Mactive Taxable Sales Based on Recorded Tax                                                                     16,522        447,661          464,183 Taxable                                  464,183      286,978        177,205
 34
 35 Total Taxable Sales Per Audit All Cases                                                              (L12+L16+L17+L1   7,330,083     75,513,947      82,844,030 Taxable
 36
 37 Reported Taxable SALES Per Sales and Use Tax Returns                                                                   6,057,287     77,656,328      83,713,615
 38 Over-Reported Taxable Sales per Audits                                                               (L33-L35)         1,272,796     (2,142,381)       (869,585)
 39
 40 Ex-Tax Cost Of Consumable Supplies Subject To Tax Per Statistical Sample Test                                            12,466        633,705          646,171 Taxable                                                            46,473,004 Diff in Measure

       Total Recommended Taxable Measure per All Audits                                                                    1,285,262     (1,508,676)       (223,414)

       Total Reported Tax Per Returns                                                                                                                   6,711,841.00                                        6,711,841     7,055,745      (343,904)      4,298,800 Diff in Measure
                                                                                                                                                                                                      Tax              Tax
                                                                                                                                                                                                              Total Difference in Taxable Measure      50,771,804               8%
                                                                                                                                                                                                                                            Total Difference in Tax   4,061,744.30
                                                                                                                                                                                                                                                                                                Case 8:15-bk-15311-MW Doc 1732-2 Filed 03/01/21 Entered 03/01/21 15:35:02
                                                                                                                                                                                                                                                                                     DECLARATION OF WILLIAM P. KIMSEY CPA IN SUPPORT OF THE CALIFORNIA DEPARTMENT
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FREEDOM COMMUNICATIONS HOLDINGS, IN                                                                        PRESS-ENTERPRISE                                              102-501862

 A                                                     B                                                                          C                     D                             E
                                                                                                                                                                                                 Department      Taxpayer
Ref.                                                  Des.                                                                                     11/01/2013-03/31/2016 Taxable Measure Per Audit     Summary       Summary          Diff.
  1    Total Subscription Revenue Freight Included                                                                                                         29,657,766
  2
  3    Less:RIE Revenue Deductible                                                                                                                                   0
  4
  5    Less: Transportation Deduction                                                                                                                        6,355,659
  6
  7    Adjusted Subscription Revenue for Transportation                                                    (L1-L5)                                          23,302,107
  8
  9    Adjustment of Subscription Revenue for Digital Portion                                                                                                9,553,864
 10
 11 Adjustment of Subscription Revenue for Taxable Bad Debts (GL12610)                                                                                         561,477
    Audited Taxable Subscription Sales Excluding (Transportation per test, Digital Subscription on ratio
 12 basis and Taxable Bad Debts) (Taxable)                                                                 (L7-L9-L11)                                      13,186,766 Taxable                     13,186,766     2,978,924     10,207,842
 13
 14 Total Unreported Commercial Printing Revenue (Net of Discounts and Refunds)                                                                              1,059,315
 15 Allowed Unreported Commercial Printing Revenue Per Audit                                                                                                 1,059,315
 16 Disallowed Unreported Commercial Printing Revenue Per Audit                                                                                                      0 Taxable
 17
 18 Total Unreported Single Copies Sales (Net of Discounts and Refunds)                                                                                       2,183,217
 19 Disallowed Unreported Single Copies Sales Per Audit / Actual                                                                                             1,342,163 Taxable                      1,342,163      873,330        468,833
 20
    Unreported Taxable Sales From Single Copy Sales Markup Sold through Concessionaires and
 21 Newspaper's Carriers Per Regulations 1590(b)(6) and 1699(d)                                                                                              1,069,015 Taxable                       1,069,015              0    1,069,015
 22
 23 Unsupported Miscellaneous Income Posted To Gl 17000                                                                                                          6,698 Taxable                          6,698         6,698               0
 24
 25 Unreported Taxable Sales of Fixed Assets at Close Out Date                                                                                               3,405,471 Taxable                       3,405,471    1,835,777      1,569,694
 26
 27 Unreported Taxable Photo Reprint Revenue                                                                                                                     6,698 Taxable                          6,698         6,698               0
 28
 29 Recorded Mactive Taxable Sales                                                                                                                               1,319 Taxable                          1,319         1,319               0
 30
 31 Total Taxable Sales Per Audit All Cases                                                                (L12+L16+L19+L21+L23+L25+L27+L29)                19,018,130 Taxable
 32
 33 Reported Taxable SALES Per Sales and Use Tax Returns                                                                                                    15,363,451
 34 Under-Reported Taxable Sales per Audits                                                                (L29-L31)                                         3,654,679
 35
 36 Ex-Tax Cost Of Consumable Supplies Subject To Tax Per Test                                                                                                 99,931 Taxable                      19,018,130     5,702,746     13,315,384 Diff in Measure
 37
 38 Total Recommended Taxable Measure per All Audits                                                                                                         3,754,610
 39
 40 Total Reported Tax Per Returns                                                                                                                           1,231,217                              1,231,217      1,253,423       (22,206)        277,575 Diff in Measure
                                                                                                                                                                                                     Tax             Tax
                                                                                                                                                                                                       Total Difference in Taxable Measure      13,592,959                8%
                                                                                                                                                                                                                                     Total Difference in Tax    1,087,436.71
                                                                                                                                                                                                                                                                                      Case 8:15-bk-15311-MW Doc 1732-2 Filed 03/01/21 Entered 03/01/21 15:35:02
                                                                                                                                                                                                                                                                           DECLARATION OF WILLIAM P. KIMSEY CPA IN SUPPORT OF THE CALIFORNIA DEPARTMENT
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                                               PROOF OF SERVICE OF DOCUMENT
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
      300 S. Spring Street, Suite 1702, Los Angeles, CA 90033.


      A true and correct copy of the foregoing document entitled (specify): DECLARATION OF WILLIAM P. KIMSEY, CPA, IN
      SUPPORT OF THE CALIFORNIA DEPARTMENT OF TAX AND FEE ADMINISTRATION’S (CDTFA) OPPOSITION TO
      MOTION OF DEBTORS AND DEBTORS-IN POSSESSION UNDER BANKRUPTCY CODE 502(C) TO ESTIMATE
      CLAIMS OF THE CDTFA AND TO DETERMINE THAT CDTFA OWES DEBTORS REFUNDS IN EXCESS OF THE
      CLAIMS OF CDTFA will be served or was served (a) on the judge in chambers in the form and manner required by LBR
      5005-2(d); and (b) in the manner stated below:

      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
      Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
      March 1, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
      following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

      March 1, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
      following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       • Kyra E Andrassy kandrassy@swelawfirm.com,
       lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
       • David M Banker dbanker@lowenstein.com, dbanker@lowenstein.com
       • Richard L Barnett rick@barnettrubin.com, kelly@barnettrubin.com
       • James Cornell Behrens jbehrens@milbank.com, gbray@milbank.com; mshinderman@milbank.com;
       dodonnell@milbank.com; jbrewster@milbank.com; JWeber@milbank.com
       • Shraddha Bharatia notices@becket-lee.com
       • Matthew Bouslog MBouslog@gibsondunn.com, jsprecher@gibsondunn.com
       • J Scott Bovitz bovitz@bovitz-spitzer.com
       • Larry Butler notices@becket-lee.com
       • Frank Cadigan frank.cadigan@usdoj.gov
       • Andrew W Caine acaine@pszjlaw.com
       • David Cantrell dcantrell@lc-law-llp.com
       • Jeffrey D Cawdrey jcawdrey@grsm.com, madeyemo@gordonrees.com;sdurazo@grsm.com
       • Conrad K Chiu cchiu@pryorcashman.com
       • Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       • Theodore A Cohen tcohen@sheppardmullin.com, amontoya@sheppardmullin.com
       • Erinn M Contreras econtreras@sheppardmullin.com, nsaucedo@sheppardmullin.com
       • Joseph Corrigan Bankruptcy2@ironmountain.com
       • Raphael Cung rcung@callahan-law.com, jeggleston@callahan-law.com; deisenbrey@callahan-law.com;
       mmartinez@callahan-law.com
       • Michael T Delaney mdelaney@bakerlaw.com
       • Jessica DiFrancesco notices@becket-lee.com
       • Caroline Djang caroline.djang@bbklaw.com, sansanee.wells@bbklaw.com;wilma.escalante@bbklaw.com
       • Jeffrey W Dulberg jdulberg@pszjlaw.com
       • Robert J Feinstein rfeinstein@pszjlaw.com
       • Scott D Fink colcaecf@weltman.com
       • Marc C Forsythe kmurphy@goeforlaw.com, mforsythe@goeforlaw.com;goeforecf@gmail.com
       • Alan J Friedman afriedman@shulmanbastian.com, lgauthier@shulmanbastian.com
       • Matthew T Furton mfurton@lockelord.com, cpaul@lockelord.com;chicagodocket@lockelord.com
       • Thomas M Gaa tgaa@bbslaw.com
       • Beth Gaschen bgaschen@wgllp.com, kadele@wgllp.com; vrosales@wgllp.com; cbmeeker@gmail.com;
       cyoshonis@wgllp.com; lbracken@wgllp.com
       • Nancy S Goldenberg nancy.goldenberg@usdoj.gov
       • David B Golubchik dbg@lnbyb.com, stephanie@lnbyb.com
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      June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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       • Christopher J Green chrisgreen@ucla.edu, chrisgreen@ucla.edu;christopher-green-2815@ecf.pacerpro.com
       • Justin D Harris jdh@harrislawfirm.net, felicia@harrislawfirm.net
       • Michael J Hauser michael.hauser@usdoj.gov
       • Eric M Heller eric.m.heller@irscounsel.treas.gov
        • Lydia A Hewett lydia.hewett@cpa.state.tx.us
        • Joan Huh joan.huh@cdtfa.ca.gov
        • Lillian Jordan enotices@donlinrecano.com, rmapa@donlinrecano.com
        • Samuel M Kidder skidder@bhfs.com
        • Jeannie Kim jkim@buchalter.com, lsemeraro@sheppardmullin.com
        • Alan M Kindred akindred@leechtishman.com, alankindred@hotmail.com;
        dtomko@leechtishman.com; challer@leechtishman.com
        • Armand R. Kizirian armand@boyamianlaw.com, michael@boyamianlaw.com;
        brett@boyamianlaw.com; jessica@boyamianlaw.com; jennifer@boyamianlaw.com
        • Stuart I Koenig Skoenig@leechtishman.com, sfrey@leechtishman.com;jabrams@leechtishman.com
        • Alan J Kornfeld akornfeld@pszjlaw.com, mdj@pszjlaw.com
        • Matthew J Kraus mkraus@lc-lawyers.com, mbuchheit@lc-lawyers.com
        • Jeffrey C Krause jkrause@gibsondunn.com, dtrujillo@gibsondunn.com;jstern@gibsondunn.com
        • Yochun Katie Lee kylee@akingump.com, tsouthwell@akingump.com;westdocketing@akingump.com
        • Elan S Levey elan.levey@usdoj.gov, tiffany.davenport@usdoj.gov
        • William N Lobel wlobel@pszjlaw.com, nlockwood@pszjlaw.com;jokeefe@pszjlaw.com;banavim@pszjlaw.com
        • Aaron J Malo amalo@sheppardmullin.com, jsummers@sheppardmullin.com
        • Robert S Marticello Rmarticello@swelawfirm.com, gcruz@swelawfirm.com;
        lgarrett@swelawfirm.com; jchung@swelawfirm.com
        • Ashley M McDow amcdow@foley.com, sgaeta@foley.com; mhebbeln@foley.com;
        swilson@foley.com; jsimon@foley.com
        • David W. Meadows david@davidwmeadowslaw.com
        • Reed M Mercado rmercado@sheppardmullin.com
        • Harlene Miller harlene@harlenemillerlaw.com, harlenejd@gmail.com
        • Raymond F Moats colcaecf@weltman.com
        • Elizabeth L Musser emusser@londonfischer.com
        • Jeffrey P Nolan jnolan@pszjlaw.com
        • Courtney E Norton cnorton@greenbergglusker.com,
        kwoodson@greenbergglusker.com; jking@greenbergglusker.com;
        calendar@greenbergglusker.com
        • Ryan D O'Dea rodea@shulmanbastian.com, LGauthier@shulmanbastian.com
        • John M O'Donnell john.o'donnell@ftb.ca.gov, Martha.Gehrig@ftb.ca.gov
        • Ernie Zachary Park ernie.park@bewleylaw.com
        • Ronak N Patel rpatel@rivco.org, dresparza@rivco.org;mdominguez@rivco.org
        • Mary A Petrovic petrovic.mary@pbgc.gov, efile@pbgc.gov
        • Marc S Pfeuffer pfeuffer.marc@pbgc.gov, efile@pbgc.gov
        • Kathy Bazoian Phelps kphelps@diamondmccarthy.com, ericka.clarke@diamondmccarthy.com
        • Christopher E Prince , jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        • Amelia Puertas-Samara itcdbgc@edd.ca.gov, itcdgc@edd.ca.gov
        • Christopher B Queally cqueally@callahan-law.com, jluirette@callahan-law.com
        • Michael B Reynolds mreynolds@swlaw.com, kcollins@swlaw.com
        • Todd C. Ringstad becky@ringstadlaw.com, arlene@ringstadlaw.com
        • Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
        • Jeremy E Rosenthal jrosenthal@sidley.com
        • Joel W Ruderman ruderman.joel@pbgc.gov, email@pbgc.gov
        • Peter J Rudinskas pjr.legal@gmail.com
        • James M Sabovich jsabovich@callahan-law.com, ksalour@callahan-law.com;jkirwin@callahan-law.com;
        rcung@callahan-law.com; bmccormack@callahan-law.com; erichards@callahan-law.com; SRobinson@callahan-
        law.com
        • Jonathan C Sandler jsandler@bhfs.com, pherron@bhfs.com;sgrisham@bhfs.com
        • Scott A Schiff sas@soukup-schiff.com
        • Daren M Schlecter daren@schlecterlaw.com, assistant@schlecterlaw.com

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      June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
           Case 8:15-bk-15311-MW Doc 1732-2 Filed 03/01/21 Entered 03/01/21 15:35:02
DECLARATION OF WILLIAM P. KIMSEY CPA IN SUPPORT OF THE CALIFORNIA DEPARTMENT                                                                           Page 157


       • George E Schulman GSchulman@DanningGill.Com, danninggill@gmail.com;gschulman@ecf.inforuptcy.com
       • Leonard M Shulman lshulman@shulmanbastian.com
       • Donald W Sieveke , dws4law@pacbell.net
       • Donald W Sieveke ibmoola@yahoo.com, dws4law@pacbell.net
       • David A Smyth smythlaw@gmail.com, dsmyth2_@hotmail.com
       • Alex E Spjute spjute@hugheshubbard.com, gaurav.reddy@hugheshubbard.com
       • Sarah Stuppi Sarah@stuppilaw.com
       • Charles Tsai charles.tsai@doj.ca.gov
       • Helena Tseregounis htseregounis@sidley.com
       • United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       • Daniel Uribe duribe@gmail.com
       • Elissa A Wagner ewagner@pszjlaw.com
       • Michael A Wallin mwallin@wallinrussell.com
       • Michael J. Weiland mweiland@wgllp.com, kadele@wgllp.com; vrosales@wgllp.com;
       cbmeeker@gmail.com; lbracken@wgllp.com
       • Scott S Weltman colcaecf@weltman.com
       • Johnny White JWhite@wrslawyers.com, aparisi@wrslawyers.com;
       eweiman@wrslawyers.com; chamilton@wrslawyers.com
       • Brandon J Witkow
       • Steven D Zansberg

                                                                                                  Service information continued on attached page

      2. SERVED BY UNITED STATES MAIL:
      On (date) __________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
      or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
      class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
      will be completed no later than 24 hours after the document is filed.


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      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
      for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 1, 2021, I served the
      following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
      such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
      that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
      filed.

      Honorable Mark S. Wallace 411 West
      Fourth Street
      Santa Ana, CA 92701
      (Via Overnight Courier)
                                                                                                  Service information continued on attached page

      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
       March 1, 2021               Yesenia Palomarez
       Date                           Printed Name                                                    Signature




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